221 F.2d 236
    James A. WILLIAMS, Petitioner,v.UNITED STATES of America, Respondent.
    Misc. No. 428.
    United States Court of Appeals, Ninth Circuit.
    April 7, 1955.
    
      James A. Williams, in pro. per.
      No appearance for respondent.
      Before DENMAN, Chief Judge, and HEALY and BONE, Circuit Judges.
      PER CURIAM.
    
    
      1
      This court on February 10, 1955, dismissed a petition by movant to review an order of the United States District Court for the District of Alaska, entered December 9, 1954, denying his motion to vacate sentence pursuant to 28 U.S.C. § 2255 because no notice of appeal had been filed. The filing of notice of appeal on February 17, 1955, comes too late, and the motion is dismissed.
    
    
      2
      Movant also seeks to combine three cases identified as Criminal Numbers 1841, 1842 and 1843 for review. Notices of appeal in these cases were filed more than a year ago but the records have never been docketed in this court. These appeals are dismissed. Rule 39, Federal Rules of Criminal Procedure, 18 U.S.C.
    
    